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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF AARON S. CRAIG
                                               IN SUPPORT OF DEFENDANTS NSO
13               Plaintiffs,                   GROUP TECHNOLOGIES LIMITED
                                               AND Q CYBER TECHNOLOGIES
14         v.                                  LIMITED’S ADMINISTRATIVE
                                               MOTION TO FILE UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         FILED UNDER SEAL
16
                 Defendants.                   [REDACTED VERSION OF DOCUMENT
17                                             SOUGHT TO BE SEALED]
18
                                               Judge: Hon. Phyllis J. Hamilton
19
                                               Action Filed: 10/29/2019
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      CRAIG DECL.                                                   Case No. 4:19-cv-07123-PJH
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 1             I, Aaron S. Craig, declare as follows:

 2             1.     I am a member of the California State Bar and the bar of this court, a partner in the

 3   law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies

 4   Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is

 5   made in support of Defendants’ January 9, 2024, Administrative Motion to Seal and in support of

 6   Defendants’ Opposition to Motion to Compel Discovery. I have personal knowledge of the facts

 7   set forth herein and, except as otherwise stated, could testify competently to each fact averred

 8   herein.

 9             2.     The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served

10   on March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No.

11   45.) Plaintiffs served a First Set of RFPs on June 4, 2020. (Craig. Decl. ¶ 2.) This Court stayed

12   discovery shortly after Plaintiffs served their First Set of RFPs. (Id.) After the stay ended, the

13   Court held a status conference at which it instructed the parties to meet and confer over the

14                   on Plaintiffs’ RFPs and if the parties cannot resolve the issue, for Defendants to file

15   a motion for protective order. (Id.) The parties met and conferred but could not reach a resolution,

16   forcing Defendants to file a motion for protective order on March 30, 2023. (Id.) On November

17   15, 2023, the Court denied NSO’s motion for protective order. (Dkt. No. 233.) On December 21

18   and 22, 2023, Plaintiffs and Defendants respectively filed Motions to Compel Discovery. (Dkt.

19   Nos. 235, 239.)

20             3.     Defendants seek to file under seal documents (the “Sealed Documents” 1) related to

21   and in connection with Defendants’ concurrently filed Opposition to Motion to Compel Discovery.

22   Sealing of the Sealed Documents was (and remains) necessary to

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25                                                                                                    As is

26   evidenced by the

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28   1
         The Sealed Documents are enumerated in paragraph 11, below.
         CRAIG DECL.                                       1                      Case No. 4:19-cv-07123-PJH
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 6                                                              (Gelfand Decl. (Dkt. 133-6)

 7   Exh. B at 1-2.)

 8          5.         On July 19, 2020,

 9                                                         (Gelfand Decl. (Dkt. 133-6), Exh.

10   D.)

11                                         (Id. at 1.)

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15                                                                (Id.)             authorized

16   the

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19                                                                   (Id. at 1-2.) The order

20   also authorized

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22                                                                         (Id. at 3.)

23          6.         On July 19, 2020,

24                                           (Gelfand Decl. (Dkt. 133-6) Exh. F.)

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 2                             including a prohibition on

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 4                (Id. ¶ 2.)

 5          7.      On February 8, 2023,

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 7                                                           (Gelfand Decl. (Dkt. 133-6) Exh. D.) The

 8   purpose for this update, according to

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11          8.      On May 21, 2023,

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14          . As soon as NSO                                                                           it

15   filed and served them on June 13, 2023 (Dkt. 195-3 and 195-4.)                        is described

16   in paragraph 10 below.

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19                                                      (Dkt. 195-4, Order ¶ 4), and

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21                                                                                (Dkt. 195-4, Order ¶

22   5),                                                                                   (Dkt. 195-4,

23                  ¶ 3).

24         (Dkt. 195-4,                 ¶ 6).

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26          9.      The information that Defendants seek to keep under seal regarding the

27                                                             At the time Defendants first received

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 1                                                                     (Gelfand Decl. (Dkt. 133-6) Exh. F

 2 ¶¶ 4-6.) Through their counsel in           , Defendants

 3                                                        Defendants

 4                                                                       to allow disclosure of

 5           to this Court and to Plaintiffs’ counsel. In seeking                  Defendants

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 7

 8            authorizing Defendants to

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11          10.                            (Dkt. 195-3)

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13                (Dkt. 195-3, ¶ 2.)

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16                                                                               (Dkt. 195-3, ¶ 2(1)-(6).)

17   However, the

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21   (Dkt. 195-3 ¶ 4 (a)-(b)). As relevant here,

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25          11.      Defendants seek to file under seal: (1) Exhibit 1 to this declaration, certain language

26   on pages 1-15 of Defendants’ Opposition to Motion to Compel Discovery; (2) Exhibit 2 to this

27   declaration, certain language in paragraph 4 of the Declaration of Joseph N. Akrotirianakis in

28   Support of Defendants’ Opposition to Motion to Compel Discovery (“Akrotrianakis Declaration”);
       CRAIG DECL.                                      5                        Case No. 4:19-cv-07123-PJH
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 1   (3) Exhibit 3 to this declaration, certain language in paragraphs 5-8 of the Declaration of Yaron

 2   Shohat in Support of Defendants’ Opposition to Motion to Compel Discovery (“Shohat

 3   Declaration”); and (4) portions of paragraphs 2-10 and 12 of this Declaration.

 4          12.      Good cause exists to seal each of the above-listed documents because the Sealed

 5   Documents come from or make reference to

 6                                                                                     , which is entitled

 7   to deference.

 8                   a.     First, the Sealed Documents relate to

 9                                                                                               As such,

10   the Sealed Documents contain traditionally nonpublic government information for which there is

11   no constitutional right of access. See, e.g., N.Y. Times Co. v. U.S. Dep't of Justice, 806 F.3d 682,

12   688 (2d Cir. 2015) (“As a general rule, there is no constitutional right of access to traditionally

13   nonpublic government information.”) The fact that the documents were issued by

14                                              and contain

15                                             “alone counsels in favor of finding that there is no

16   presumptive public right of access” to these documents. Omari v. Ras Al Khaimah Free Trade

17   Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017) (sealing a white paper

18   commissioned by a ruler of a political subdivision of foreign nation because it contained “highly

19   sensitive, traditionally nonpublic government information, in this case of a foreign government”);

20   see also In re Terrorist Attacks on Sept. 11, 2001, , 2019 WL 3296959, at *5 (S.D.N.Y. July 22,

21   2019) (sealing multiple documents and finding that the documents contained “traditionally

22   nonpublic information” because the documents involved senior foreign officials, were designated

23   as sensitive at the time of creation, and detailed information about the nation’s response to certain

24   investigations).

25                   b.     Second,

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 2                                        Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct.,

 3   482 U.S. 522, 543 n. 27 (1987).

 4                                                        United States v. Sater, 2019 WL 3288289, at

 5   *4 (E.D.N.Y. July 22, 2019). This is particularly true where, as in this case, the documents sought

 6   to be sealed

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15                  c.     Third, because

16                           public disclosure of the Sealed Documents could

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21          13.     Accordingly, good cause (and, if necessary, a compelling reason) exists to seal each

22   of the above-listed documents, and Defendants respectfully request that the Court grant the

23   accompanying Administrative Motion to File Under Seal and order the Sealed Documents be kept

24   under seal.

25          14.     The Declarant has carefully sought sealing of only those parts of this Declaration

26   as are necessary to comply with other legal obligations binding on Defendants, as described

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 1   above, and, on behalf of Defendants, respectfully submits that the good cause and compelling

 2   reasons standards are met with respect to the Sealed Documents. 4

 3           I declare under penalty of perjury and the laws of the United States that the foregoing is

 4   true and correct this 9th day of January 2024, at Pasadena, California.

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 6                                         /s/ Aaron S. Craig
                                             AARON S. CRAIG
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27     To the extent the Court disagrees with Defendants’ sealing request, the Declarant respectfully
     requests that the Sealed Materials and the unredacted version of this Declaration be stricken from
28   the docket of this action and that any copies thereof be destroyed.
         CRAIG DECL.                                  8                        Case No. 4:19-cv-07123-PJH
